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1
                               UNITED STATES DISTRICT COURT
2                                   DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,
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                               Plaintiff,               Case No.: 2:17-cr-0169-KJD-VCF
5
                 vs.
6                                                        AMENDED FINDINGS OF FACT,
     KYLE BLACKMAN,                                      CONCLUSIONS OF LAW,
7                                                        AND ORDER
                               Defendant.
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                                            FINDINGS OF FACT
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           Based upon the pending Stipulation of counsel, and good cause appearing
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     therefore, the Court finds that:
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           1.     At the time defendant filed the motion, counsel for the government was on
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     a week long absence from the office. Counsel for the government needs the additional
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     time to properly prepare a response.
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           2.     The Defendant is in custody and does not object to the continuance.
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           3.     For the reasons stated above, the ends of justice would best be served by a
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     continuance of the government deadlines.
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           4.     Additionally, denial of this request for continuance could result in a
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     miscarriage of justice.
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                                      CONCLUSIONS OF LAW
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           The ends of justice served by granting said continuance outweigh the best
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     interest of the public and the Defendant in a speedy trial, since the failure to grant
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     said continuance would be likely to result in a miscarriage of justice, would deny the
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                                                   1
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1    parties herein sufficient time and the opportunity within which to be able to effectively

2    and prepare a response, taking into account the exercise of due diligence.

3                                            ORDER
                                                          response
4            It is therefore ORDERED that the Government’s reply regarding defendant’s

5    Motion for Severance (ECF #79), is due by the close of business on the 2nd day of July

6    2018.

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8            DATED this ____
                        27th day of _______________,
                                     June            2018.

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10                                          ___________________________________
                                            HONORABLE KENT J. DAWSON
11                                          UNITED STATES DISTRICT JUDGE

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